      Case 2:19-cv-04618-RGK-JPR Document 188 Filed 06/23/21 Page 1 of 1 Page ID #:10754

                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                            CIVIL MINUTES - TRIAL

 Case No.         2:19-cv-04618-RGK-JPRx                                                                     Date        June 23, 2021
 Title:           Y.Y.G.M. SA v. Redbubble, Inc.

 Present: The Honorable             R. Gary Klausner, U.S. District Judge
                            Joseph Remigio                                                                  Miranda Algorri
                             Deputy Clerk                                                               Court Reporter/Recorder


                Attorneys Present for Plaintiff(s):                                                Attorneys Present for Defendants:
                             Keith Wesley                                                                    Joshua Masur
                              Jason Kelly                                                                    Jennifer Kuhn

                               Day Court Trial        4TH                                  Day Jury Trial
                                                 st
            One day trial:           Begun (1 day);               Held & Continued;          X      Completed by jury verdict/submitted to court.
       The Jury is impaneled and sworn.
       Opening statements made by
       Witnesses called, sworn and testified.              Exhibits Identified             Exhibits admitted.

       Plaintiff(s) rest.                                  Defendant(s) rest.
       Closing arguments made by                           plaintiff(s)                  defendant(s).                Court instructs jury.
       Bailiff(s) sworn.                                   Jury retires to deliberate.                          X     Jury resumes deliberations.
 X     Jury Verdict in favor of                       X    plaintiff(s)                  defendant(s) is read and filed.
 X     Jury polled.                                        Polling waived.
 X     Filed Witness & Exhibit Lists                  X    Filed jury notes.      X      Filed jury instructions.
       Judgment by Court for                                                             plaintiff(s)                 defendant(s).
       Findings, Conclusions of Law & Judgment to be prepared by                         plaintiff(s)                 defendant(s).
       Case submitted.                Briefs to be filed by
       Motion to dismiss by                                                       is             granted.           denied.           submitted.
       Motion for mistrial by                                                     is             granted.           denied.           submitted.

       Motion for Judgment/Directed Verdict by            Defendant               is             granted.           denied.           submitted.
       Settlement reached and placed on the record.
       Clerk reviewed admitted exhibits with counsel to be submitted to the Jury/Court for deliberation/findings.
 X     Counsel stipulate to the return of exhibits upon the conclusion of trial. Exhibit Release Form prepared and filed.
       Trial subpoenaed documents returned to subpoenaing party.
       Case continued to                                                                     for further trial/further jury deliberation.
       Other:


                                                                                                                                 :          15

                                                                                 Initials of Deputy Clerk       jre
cc:
CV-96 (10/08)                                                  CIVIL MINUTES - TRIAL                                                             Page 1 of 1
